Case 1:18:cr-OO493-ELH Document 64 Filed 10/24/18 Page 1 of 1

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IN THE UN{TY£§iS§YY§YW§§;CT COURT

V.

RODNEY BLUE,

TYREK BUTLER,
DUANE DAY,

])AKWAN GRAY,
JUAN HILL,
DIAMONTE JACKSON,

DAVON JOHNSON,
ALLEN JONES,

WILLIAM STEWART,

ANTHONY WASHINGTON,
ANDRE WEBB,

a.k.a. “GEE'I`CHI,”

Defendants.

UNITED STATES OF AMERICA

FOR THqE DISTRICT OF lViAlilYLAND
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MOTION TO UNSEAL SUPERSEI)ING INDICTMENT

The United States of Ameriea, by its undersigned counsel, moves this Honorab]e Court to

order and direct that the Superseding Indictment in this matter be unsealed

ORDERED as prayed, this § §

the above-captioned case be unsealed.

Respectfully submitted, `

Rebert K. Hur

UniWomey

Matthewym

Assistant United States Attorney

By:

day of October' 2018 tha

TI;?{!Qno§ble/J. Mark Coulson
U

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